     USCA Case #21-1213           Document #2029973              Filed: 12/01/2023      Page 1 of 3
UNITED STATES COURT OF APns^preme Court of the United States
for district of col ut^BiA CIRCUIT Office of the Clerk
      DEC 0 1 2023               Washington, DC 20543-0001
                                                                                Scott S. Harris
                                                                                Clerk of the Court

  RE      I’   L'id %4   SL—..
                                         November 28, 2023
                                                                                (202) 479-3011




       Clerk
       United States Court of Appeals for the District
       of Columbia Circuit
       333 Constitution Avenue, NW
       Washington, DC 20001


               Re: Jill L. Stein, et al.
                   V. Federal Election Commission
                   Application No. 23A473
                   (Your No. 21-1213)


       Dear Clerk:

              The application for an extension of time within which to file a petition
       for a writ of certiorari in the above-entitled case has been presented to The
       Chief Justice, who on November 28, 2023, extended the time to and including
       January 12, 2024.

              This letter has been sent to those designated on the attached
       notification list.



                                                    Sincerely,

                                                                   rris, Cler



                                                    Rashonda Garner
                                                    Case Analyst
USCA Case #21-1213      Document #2029973          Filed: 12/01/2023     Page 2 of 3



                Supreme Court of the United States
                       Office of the Clerk
                   Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                             NOTIFICATION LIST


  Mr. Oliver Barrett Hall
  Center for Competitive Democracy
  P.O. Box 21090
  Washington, DC 20009


  Clerk
  United States Court of Appeals for the District of Columbia Circuit
  333 Constitution Avenue, NW
  Washington, DC 20001
         OFFICE OF THE CLERK
            USCA Case #21-1213              Document #2029973   Filed: 12/01/2023    Page  3 of 3
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